   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 1 of 14 PAGEID #: 2495

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           HOUSE SPEAKER ROBERT R. CUPP
To: (Defendant’s name and address) 77 SOUTH HIGH ST. 14TH FLOOR
                                           COLUMBUS, OH 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT

              March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
    Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 2 of 14 PAGEID #: 2496

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 3 of 14 PAGEID #: 2497

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           GOVERNOR MIKE DEWINE
To: (Defendant’s name and address) RIFFE CTR. 30TH FLOOR
                                           77 SOUTH HIGH ST.
                                           COLUMBUS, OH 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT

             March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
    Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 4 of 14 PAGEID #: 2498

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 5 of 14 PAGEID #: 2499

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           AUDITOR KEITH FABER
To: (Defendant’s name and address) 88 EAST BROAD STREET, 5TH FLOOR
                                           COLUMBUS, OHIO 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT
          March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
    Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 6 of 14 PAGEID #: 2500

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 7 of 14 PAGEID #: 2501

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           SENATE PRESIDENT MATT HUFFMAN
To: (Defendant’s name and address) 1 CAPITOL SQ. 2ND FLOOR
                                           COLUMBUS, OH 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT

             March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
    Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 8 of 14 PAGEID #: 2502

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 9 of 14 PAGEID #: 2503

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           SECRETARY OF STATE FRANK LAROSE
To: (Defendant’s name and address) 22 NORTH FOURTH ST. 16TH FLOOR
                                           COLUMBUS, OH 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT

                 March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 10 of 14 PAGEID #: 2504

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
  Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 11 of 14 PAGEID #: 2505

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           OHIO REDISTRICTING COMMISSION
To: (Defendant’s name and address) 1 CAPITAL SQUARE
                                           COLUMBUS, OHIO 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT

                March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 12 of 14 PAGEID #: 2506

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
  Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 13 of 14 PAGEID #: 2507

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         SouthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

  The Honorable Reverend Kenneth L. Simon, et al.                      )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                            Civil Action No. 2:22-cv-773
                                                                       )
               Governor Mike DeWine, et al.
                                                                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION
                                           THE HONORABLE DAVID YOST
To: (Defendant’s name and address) OHIO ATTORNEY GENERAL
                                           30 E. BROAD STREET
                                           COLUMBUS, OHIO 43215




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Percy Squire, Esq.
                                           Percy Squire Col, LLC
                                           341 S. Third Street, Suite 10
                                           Columbus, Ohio 43215




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 6$1'<23$&,&+CLERK OF COURT

         March 25, 2022
Date:
                                                                                           Signature of Clerk or Deputy Clerk
   Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 101 Filed: 03/25/22 Page: 14 of 14 PAGEID #: 2508

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:22-cv-773

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
